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            IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

      Vs.                                        No. 10-40013-02-SAC

EUSEBIO LOPEZ-ESTRADA,

                        Defendant.


                       MEMORANDUM AND ORDER

             The case comes before the court on the defendant’s motion to

suppress all items discovered and seized as the result of the traffic stop

and subsequent search of the vehicle on January 19, 2010. (Dk. 21). The

government has filed a response to the motion. (Dk. 24). The court heard

evidence and arguments on May 12, 2010. After considering the same and

researching the issues, the court files this order as its ruling on this motion.

INDICTMENT

             The defendant is charged in a single-count indictment

possession with the intent to distribute 500 grams or more of

methamphetamine on January 19, 2010, in violation of 21 U.S.C. §

841(a)(1). (Dk. 1).

MOTION TO SUPPRESS
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                     Evidence at Suppression Hearing

            On January 19, 2010, at approximately 8:30 a.m., Kansas

Highway Patrol Trooper Josiah Trinkle was on duty sitting in his marked

patrol car in the median of Interstate 70, near milepost 224 in Ellsworth

County, Kansas. He observed a white Ford flatbed truck traveling

eastbound. Looking over his shoulder, he noticed that one end of the rear

license plate on the truck was hanging lower than the other. Because

Kansas law required registration plates to be securely attached, Trooper

Trinkle began following the truck.

            As he gained on the truck, he observed that the lower end of

the license plate was not bolted to the truck but was hanging by string or

wire. Trooper Trinkle testified his observation was significant because

state law required registration plates to be “firmly attached, free from being

able to swing.” He then saw the brake lights on driver’s side illuminate as

the truck’s speed slowed but the brake lights on the passenger side did not

light up. Trooper Trinkle testified this was significant because state law

requires two operational brake lights visible in natural sunlight from a

distance of 300 feet. He estimated that he was between 200 to 300 feet

away from truck when he saw only one of the brake lights illuminate. There


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was nothing obscuring his vision of both brake lights. At this point, Trooper

Trinkle decided to conduct a traffic stop for the registration plate violation

and for the brake light violation. He activated his emergency lights and

pulled the truck over.

            On cross-examination, Trooper Trinkle also testified that the

passenger-side brake light did not appear to work as the truck pulled over

in response to the emergency lights. When he approached on foot, the

trooper did not stop to examine closely the license plate. But just from

walking past it, his impression was that the license plate was securely

attached. The trooper also admitted that he never saw the license plate

swinging at any point before or during the stop. The trooper, however,

disputed that this was not a license display violation, for he had seen tags

similarly wired “able to swing” on windy days.

            Trooper Trinkle spoke with the driver and identified him from his

California driver’s license as the defendant. The trooper then explained the

reason for the stop was that a brake light was out and that the license plate

was attached with wire and hanging down on one end. According to

Trooper Trinkle, the defendant acknowledged that he knew of the license

plate missing a bolt and that he was aware of the brake light. During the


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stop, the defendant did not contest Trinkle’s reasons for the stop or

suggest they were incorrect as to cause the trooper to investigate these

reasons further. Thus, Trooper Trinkle did not ask to check the operation

of the brake lights during the traffic stop. The trooper had no difficulty

conversing with the defendant in English, and the defendant didn’t appear

to have questions about what the trooper was saying.

            The defendant testified that the trooper identified the license

plate as the only reason for the stop. The defendant denied telling the

trooper that he knew the brake light was not working. When asked if the

brake light was working on the day of the stop, the defendant testified it

was working just “five minutes before when . . . [he had] checked it.” The

defendant also denied applying his brakes before the trooper activated his

emergency lights for the traffic stop. On cross-examination, the defendant

admitted he could not see the brake lights while driving the truck. The

defendant used an interpreter at the hearing, but during his testimony, he

spoke English in answering some of the questions put to him.

            Trooper Trinkle explained that the audio-video recording

system for his car was not operating, as the camera had fallen from

windshield and needed to be re-installed. At the direction of his


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supervising officer, Trooper Trinkle had turned off the entire system,

including the audio element. Thus, there was no video or audio recording

made of the traffic stop.

            Having obtained the licenses and registration, Trooper Trinkle

took the information back to his patrol car and requested computer checks

on the driver and the passenger. He wrote out the warning ticket and

walked back to the truck returning the licenses and documentation. After

explaining the warning ticket, Trooper Trinkle told the men they were free

to go and stepped away from the truck in the direction of his patrol car.

Trooper Trinkle then stepped back toward the truck and received

permission to ask a few more questions. Following this conversation, he

received consent to search the truck during which he found a vehicle

battery in the tool box. The insides of the battery had been altered to make

a secret compartment which contained methamphetamine.

            The defendant presented the testimony of Katherine Overley, a

private investigator, who went to Ellsworth, Kansas, on March 11, 2010,

with defense counsel to check out the truck that had been seized and

stored following the traffic stop. Ms. Overley testified that she saw both

brake lights on the truck operate and illuminate equally and that she did not


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notice any visible damage to the lights or any instances of the brake lamps’

flickering or not lighting up. A video was made of this check of the truck’s

brake lights and was admitted at the hearing. The court reviewed the

video.

            As pointed out by the government on the cross-examination of

Ms. Overley, this check of the brake lights was made approximately two

months after the traffic stop. At the close of the hearing, the court accepted

the defendant’s proffer that the individual who towed and stored the truck

after the traffic stop would testify that he has had custody of the truck since

the stop and that no repairs have been made on the truck while it has been

in his custody. The government represented that it had no reason for

disputing the defendant’s proffer and no information indicating repairs were

made to the impounded truck.

                               Governing Law

            “The Supreme Court has said there are three types of

police-citizen encounters.” United States v. Brown, 496 F.3d 1070, 1074

(10th Cir. 2007). The first type is a consensual encounter that does not

trigger protection under the Fourth Amendment, the second is an

investigative detention that constitutes a “Fourth Amendment seizure[ ] of


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limited scope and duration and must be supported by a reasonable

suspicion of criminal activity,” and the third type is an arrest that is “the

most intrusive of Fourth Amendment seizures and reasonable only if

supported by probable cause.” Id. (quotation and citation omitted).

            Traffic stops are seizures subject to Fourth Amendment

analysis. United States v. Bradford, 423 F.3d 1149, 1156 (10th Cir. 2005).

Most analogous to investigative detentions, traffic stops are scrutinized for

lawfulness under the two-prong analysis set forth in Terry v. Ohio, 392 U.S.

1 (1968). Id. The first prong addresses “whether the officer’s action was

justified at its inception.” 392 U.S. at 20. The second prong is whether the

detention “was reasonably related in scope to the circumstances which

justified the interference in the first place.” Id. The defendant’s motion to

suppress advances challenges limited to the first prong.

            “A traffic stop is justified at its inception if an officer has . . .

reasonable articulable suspicion that a particular motorist has violated any

of the traffic or equipment regulations of the jurisdiction.” United States v.

Winder, 557 F.3d 1129, 1134 (10th Cir.), cert. denied, --- U.S. ----, 129

S.Ct. 2881 (2009). “For an officer to have reasonable suspicion to seize an

individual, the officer ‘must have a particularized and objective basis for


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suspecting the particular person stopped of criminal activity.’” Cortez v.

McCauley, 478 F.3d 1108, 1115 (10th Cir. 2007) (quoting Oliver v. Woods,

209 F.3d 1179, 1186 (10th Cir. 2000)). Reasonable suspicion is

“something more than an inchoate and unparticularized suspicion or

hunch.” United States v. Sokolow, 490 U.S. 1, 7 (1989) (internal quotation

marks omitted). A court “looks only at whether the stop was ‘objectively

justified’; the officer's subjective motives are irrelevant.” United States v.

Chavez, 534 F.3d 1338, 1344 (10th Cir. 2008), cert. denied, --- U.S. ----,

129 S.Ct. 953 (2009).

            The defendant contends first that Trooper Trinkle had not

observed an actual traffic violation before stopping the truck. The license

plate was securely attached and not swinging, and both brake lights on the

truck functioned properly. The law does not require the government to

show that a traffic violation actually occurred but that an officer had

reasonable suspicion to believe a violation had occurred or was occurring.

The Tenth Circuit has plainly discussed this distinction:

             Reasonable suspicion is “a particularized and objective basis”
      for suspecting the person stopped of criminal activity. United States
      v. Cortez, 449 U.S. 411, 417-418 (1981). “A traffic stop based on an
      officer's incorrect but reasonable assessment of the facts does not
      violate the Fourth Amendment.” United States v. Chanthasouxat,
      342 F.3d 1271, 1276 (11th Cir. 2003) (citations omitted); see also

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      Illinois v. Rodriguez, 497 U.S. 177, 185 (1990). The Supreme Court
      in Rodriguez explained that in order to satisfy the reasonableness
      requirement of the Fourth Amendment, what is generally demanded
      of “the police officer conducting a search or seizure under one of the
      exceptions of the warrant requirement ... is not that they always be
      correct, but that they always be reasonable.” Rodriguez, 497 U.S. at
      185.
              We have consistently held that an officer's mistake of fact, as
      distinguished from a mistake of law, may support probable cause or
      reasonable suspicion necessary to justify a traffic stop. [United States
      v.] DeGasso, 369 F.3d [1139] at 1144 [(10th Cir. 2004)] ; see also
      United States v. Salinas-Cano, 959 F.2d 861, 865 (10th Cir. 1992).
      But we have also held that failure to understand the law by the very
      person charged with enforcing it is not objectively reasonable. See
      DeGasso, 369 F.3d at 1144.

United States v. Tibbetts, 396 F.3d 1132, 1138 (10th Cir. 2005); see also

United States v. Valadez-Valadez, 525 F.3d 987, 991-992 (10th Cir. 2008)

(“An officer's reasonable mistake of fact, as distinguished from a mistake of

law, may support the probable cause or reasonable suspicion necessary to

justify a traffic stop,” but “an officer's failure to understand the plain and

unambiguous law he is charged with enforcing is not objectively

reasonable." (internal quotation marks and citations omitted)).

            The governing Kansas statute on the display of license plates

requires in pertinent part:

      Every license plate shall at all times be securely fastened to the
      vehicle to which it is assigned so as to prevent the place from
      swinging, and at a height not less than 12 inches from the ground,
      measuring from the bottom of such place, in a place and position to

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     be clearly visible, and shall be maintained free from foreign materials
     and in a condition to be clearly legible.

K.S.A. 8-133. In United States v. Velazquez, 494 F. Supp. 2d 1250, 1251,

(D. Kan. 2007), aff’d, 349 Fed. Appx. 339 (10th Cir. Oct. 16, 2009), cert.

denied, 78 USLW 3547 (Mar. 27, 2010), the district court considered

whether an officer had reasonable suspicion when the front license plate

was attached by only one bolt and “was slightly askew, at about a fifty-five

degree angle.” The court found:

            While there is no precedent defining “securely fastened” in this
     context, Trooper Rainieri had an objectively reasonable articulable
     suspicion that the defendant’s tag was in violation of the statute.
     Defendant’s front tag was secured by only the top left bolt and
     hanging askew. Because the tag was not horizontal to the vehicle, a
     police officer traveling at seventy miles per hour, in the opposite
     direction, could have reasonable suspicion that defendant’s plate was
     not securely fastened to the vehicle. Requiring a tag to be securely
     fastened to the vehicle not only aids in identifying the vehicle, but
     also maintains the safety of the highways. Having reasonable
     suspicion that the tag was not securely fastened, in violation of K.S.A.
     § 8-133, Trooper Ranieri’s stop of defendant was therefore valid.

494 F. Supp. 2d at 1252-53. License plates typically have at least one hole

at each end of the top and/or the bottom of the plate. When a plate is not

attached with bolts at both ends and one side is hanging lower than the

other, there is reason to question whether the plate is so secured as to

prevent swinging. The statute does not require the license plate to be seen


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swinging for a violation. It is enough for reasonable suspicion that the

officer believe the plate is attached in a manner that would not prevent it

from swinging. Having seen the plate hanging lower on one end from the

fact that it was wired and not bolted, Trooper Trinkle had reasonable

suspicion to stop the truck based on his initial observations of the license

plate being attached in a manner that did not prevent swinging.

            Under Kansas law, a motor vehicle must “be equipped with two

(2) or more stop lamps meeting the requirements of subsection (a) of

K.S.A. 8-1721.” K.S.A. § 8-1708(a). The relevant requirements of § 8-

1721(a) are:

      Any vehicle . . . shall be equipped with a stop lamp or lamps on the
      rear of the vehicle which shall display a red or amber light, or any
      shade of color between red and amber, visible from a distance of not
      less than three hundred (300) feet to the rear in normal sunlight, and
      which shall be actuated upon application of the service or foot brake,
      and which may, but need not, be incorporated with any one (1) or
      more other rear lamps.

The credible testimony of Trooper Trinkle establishes that he had

reasonable suspicion to stop the defendant for violating this statute on

January 19, 2010. In weighing the credibility of this testimony, the court

has considered the defendant’s evidence that the brake lights were working

almost two months later and that no one had made any repairs to the


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seized truck following the stop. Even so, the record is not persuasive in

showing that at the time of the stop Trooper Trinkle lacked reasonable

suspicion and did not in good faith believe there was a brake light violation.

He issued a warning ticket at the scene for both traffic violations. It is

unnecessary for the court to proffer a reasonable explanation for why the

brake lights could have failed in January but worked in March. It is enough

if the court believes Trinkle made an objectively reasonable mistake in fact

and so had reasonable suspicion of a traffic stop. See United States v.

Pena-Montes, 589 F.3d 1048, 1052 (10th Cir. 2009). The court further

believes the trooper discussed the brake light problem with the defendant

as a reason for the stop, and based on the defendant’s response, the

trooper had no reason to question his conclusion about the brake lights.

The court questions and even doubts the defendant’s testimony that he

had checked his brake lights just five minutes before this traffic stop

occurred along a rural stretch of Interstate 70. In sum, the court believes

Trooper Trinkle had reasonable suspicion to conduct a traffic stop for a

brake light violation.

            The defendant’s motion to suppress challenges only the initial

stop as a violation of the Fourth Amendment. Based on the above findings


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and holdings, the court denies the defendant’s motion and declines to

address the other issues typically analyzed in such traffic stops and

discussed in the government’s memorandum.

           IT IS THEREFORE ORDERED that the defendant’s motion to

suppress (Dk. 21) is denied.

                 Dated this 25th day of May, 2010, Topeka, Kansas.



                               s/ Sam A. Crow
                               Sam A. Crow, U.S. District Senior Judge




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